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SO ORDERED.

SIGNED this 22nd day of May, 2024.




                   UNITED STATES BANKRUPTCY COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         GREENSBORO DIVISION

   IN RE:                              )
                                       )
   Chadley Capital, LLC,               )        Case No. 24-10170
                                       )
         Debtor.                       )        Chapter 7
   ____________________________________)

                                       ORDER
      (1) HOLDING WILLIAM RHEW, III IN CONTEMPT OF THIS COURT’S TURNOVER ORDER,
           (2) DIRECTING WILLIAM RHEW, III BE REMANDED INTO THE CUSTODY OF THE
            UNITED STATES MARSHAL SERVICE, AND (3) SETTING A FURTHER HEARING

         This matter came before the Court on May 22, 2024 for a continued show
   cause hearing on William Rhew, III’s contempt of this Court’s Order Granting
   Motion for Turnover (Docket No. 33, the “Turnover Order”). All interested parties
   having received notice, Brian Anderson, chapter 7 trustee (the “Trustee”), Robert E.
   Price, Jr., Assistant Bankruptcy Administrator, and Joshua Bennett, attorney for
   Rhew, appeared at the hearing. Rhew was also present and testified.
         This Court has already found Rhew in contempt of the Turnover Order in
   orders dated April 25, 2024 (Docket No. 45), April 29, 2024 (Docket No. 49), May 8,
   2024 (Docket No. 65), and May 16, 2024 (Docket No. 69). As of the date of this order,
   Rhew remains in contempt. He has not turned over estate assets, including
   cryptocurrency wallets, codes, and passphrases, with a value of over $27,000,000 by
   his own estimate. Rhew has also consistently slow-played his cooperation with the
   Trustee, providing fragments of information just prior to each scheduled hearing.
   Critically, Rhew has failed to provide any meaningful documentation evidencing the

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past or present location of estate assets or potential transfers. Against this
backdrop, the Court is unable to find Rhew’s testified inability to locate assets to be
credible given the inconsistencies in his testimony, his admission that he has not
told the truth in the past, and his repeated use of delay tactics in this proceeding. 1
       Based on the record of this case, the Court finds Rhew has continuously—and
without justification—evaded his responsibility to comply with the Turnover Order
and to fully cooperate with the Trustee in delivering assets of the estate. Because
the Court’s imposition of compensatory sanctions, daily fines, and the threat of
incarceration have proven ineffective at coercing Rhew’s full compliance, the Court
finds that Rhew’s behavior warrants coercive incarceration for civil contempt.
Although Rhew’s counsel challenged whether this step is warranted at this stage,
he conceded that if Rhew is incarcerated long enough he would come up with
additional information to provide to the Trustee and to the Court.
       The incarceration of William Rhew, III is imposed for noncompliance with the
Turnover Order, and Rhew shall be incarcerated until (i) he purges his contempt or
indicates to the Court’s satisfaction that he will do so by taking concrete steps by a
date certain, (ii) demonstrates to the Court that he is unable, for good cause, to
comply, or (iii) the Court otherwise issues an order releasing Rhew from custody.
       Therefore, the Court will order that Rhew be remanded into the custody of
the United States Marshal Service until he complies with the Turnover Order or
shows cause as to why he is unable to do so. See Int’l Union, United Mine Workers of
Am. v. Bagwell, 512 U.S. 821, 828-29 (1994); Lawrence v. Goldberg (In re Lawrence),
279 F.3d 1294, 1297 (11th Cir. 2002); In re CTLI, LLC, 528 B.R. 359, 379 (Bankr.
S.D. Tex. 2015); In re 1990’s Caterers Ltd., 531 B.R. 309, 321 (Bankr. E.D.N.Y.
2015); In re Vaso Active Pharms., Inc., 514 B.R. 416, 426 (Bankr. D. Del. 2014).
       For the foregoing reasons, IT IS HEREBY ORDERED as follows:


1 As just one example, Rhew disclosed the existence of an as-yet-undiscovered Chromebook computer

at the May 16th hearing and the Court asked Rhew under oath if he had completely searched his
home for the device and any other assets of the estate. Rhew’s sworn testimony was that he searched
everywhere he had access to in his home; however, the very next day Rhew delivered the
Chromebook to the Trustee, explaining that he discovered the device in his attic.

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1. William Rhew, III is remanded into the custody of the United States
   Marshal Service and shall remain in custody until he complies with
   the Turnover Order or shows cause as to why he is unable to do so;
2. Rhew is entitled to orally inform the United States Marshal Service or
   Trustee, or to send a letter or other written submission directly to the
   Court, demonstrating that he has purged his contempt or will do so by
   taking concrete steps by a date certain, or that he is unable in good
   faith to comply, whereupon the Court will schedule a further hearing
   to determine whether Rhew should be released from custody; and
3. William Rhew, III is ORDERED to attend a further hearing to be held
   at 10:00 a.m. on Wednesday, May 29, 2024 at the United States
   Bankruptcy Court, 601 W. 4th Street, Winston-Salem, North Carolina.
   If, at the conclusion of the hearing, Rhew has not purged his contempt,
   shown to the Court’s satisfaction that he will do so, or demonstrates
   that he is unable, for good cause, to comply, he will be remanded again
   into the custody of the United States Marshal and will remain so
   pending a further hearing before this Court pursuant to the provisions
   in paragraph 2 above.


                    END OF DOCUMENT




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                          PARTIES TO BE SERVED

                               Chadley Capital LLC
                               Case No. 24-10170


John Paul Hughes Cournoyer, Bankruptcy Administrator
via cm/ecf

Brian Richard Anderson, Trustee
via cm/ecf

Robert A. Cox, Jr. on behalf of Petitioning Creditors
via cm/ecf

James R. Irving on behalf of Petitioning Creditors
via cm/ecf

Chadley Capital LLC
Attn: William Rhew, III
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Greensboro, NC 27455

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Dover, DE 19901
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